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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


GWYNNE A. WILCOX,
               Plaintiff,

         V.


DONALD]. TRUMP, in his official                        Case No. 1:25-cv-00334-BAH
capacity as President of the United States,
                                                       DECLARATION OF GWYNNE A.
     and                                               WILCOX

MAR VIN E. KAPLAN, in his official
capacity as Chairman of the National
Labor Relations Board,

                       Defendants.


        I, Gwynne A. Wilcox, declare as follows:

        1.     I was nominated by Presidentjoseph R. Biden and confirmed by the United States

Senate as a member of the National Labor Relations Board for a five-year term expiring on August

27, 2028.

        2.     Onjanuary 27,2025,at 10:38PM ET, I received an email from Trent Morse, Deputy

Director, Office of Presidential Personnel, transmitting a letter "on behalf of President Donald].

Trump." The letter stated that I was "hereby removed from the office ofMember0 of the National

Labor Relations Board." A copy of that email is attached to this declaration as Exhibit A.

        3.     Neither President Trump's letter, nor any other communication from him, has

sought to justify my removal on the ground that I committed any neglect of duty or malfeasance

in office.

        4.     I was not given either advance notice or a hearing concerning the reasons for my

removal from the Board.
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       5.      The morning after I received the letter, the Board's Director of Administration

began the termination process, cutting off my email access and telling me to clean out my office or

it would be cleaned out for me.

       6.      The following day, the agency requested that I return my government laptop,

phone, and iPad.

       7.      As a result of these actions, I am unable to carry out my duties as a Senate-

confirmed member of the National Labor Relations Board.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,that the foregoing is true

and correct.

       Executed in New York, New York on February 8, 2025.




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